Case: 1:17-cv-04782 Document #: 122 Filed: 12/17/19 Page 1 of 1 PageID #:1203

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Assia Boundaoui
                                           Plaintiff,
v.                                                        Case No.: 1:17−cv−04782
                                                          Honorable Thomas M. Durkin
Federal Bureau of Investigation, et al.
                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 17, 2019:


        MINUTE entry before the Honorable Thomas M. Durkin:Defendants' motion for
summary judgment [79] is entered and continued. Briefing is stayed. Plaintiff's motion for
order to show cause [99] is entered and continued. Status hearing held on 12/17/2019.
Counsel is directed to contact this Court's courtroom deputy to schedule a hearing. Mailed
notice(srn, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
